                                                                                  IN REPLY REFER TO:
                                UNITED STATES
                          DEPARTMENT Of THE INTERIOR
                                   BUREAU OF INDIAN AFFAIRS
                                        Alaska Region.al Office
                                     3601 'C' Street, Suite 1100
                                    Anchorage, Alaska 9-9503-5947

 Raymond C. Givens, Esq.
 Mail and Email                                                            DE.CO 9 2011
 Givens Law Firm
 1309 114~' Ave. S.E.
 Suite 211
 Bellevue, Washin1,>ton 98004

 Dear Mr, Givens;

        Re:         Preparation andapproval
                                     of Distribution Plan fot· lrti:JMdual Indian Money
                    Account or■■■■I a minor, to poy attorney fees oud costs bfiled by the
                    Given. Law Firm

        This lener is to follow-up on a series of conversations und email exchanges you have hud
with Alasl<a Regional Solicitor's Office attorney Roger Rudson. Although the initial focus of
your discn~~ions wns on language proposed to he incluclect io the Distribution PIRn which would
include n stnrement rcloting lo and commenting favorobly on octions taken by lhe minor's court
appointed guardian, ■■■■ additional concerns are also raised by the circumstances, and by
the Bureau oftndlan Affairs' (BIA) need to fulfill the l'egulatory requirements of25 C.f.R. §§
11 S.400 et sc.q.

         Tn pun.icular, ccrnsidcnllion of the one page document coplioned "Itemization of Lum11
Sum Settlement with fees and Costs Dne,'' recently furnished to Mi-. Hudson, has rai~ed
q11eslioos which the BIA believes mu~r he addressed prior to finalization nod approve! of a
Distribution Plan. [n order to properly evaluate the Itemization Sheet, the BIA has had to focus
its attention on the 1enns of the attorney client agreement, es amended, upon which the
ftemizut ion cntegories and amoun.ts are preswnnbly based. The lwo documents we have lookcct
al are the Oclob.:r 3 I, 2003 Contingency Pee Contract nod the AUg,;lSt 5, 2011 First Amendment
thereto. We undcrsttrnd these: contractual documents were first provided lo Department of
Justice and Regional Solicitor' s Office counsel in August, 201 l.

        The BIA has also been infonned that the completion of the Distribution Plan, and its
content, is being presented by you as a more or less integral part of the completion of a
comprehensive Settlement Agreement that your client9, inch,d,ng ■■■lil■■■- along
with five other members of the Oe11ga. family are in the course of negotiating with the United
States and the several oil companies referred to collectively os the Unit. The BIA understand.a
that the counsel involved in the negotiations for al.I of the parties believe t,he terms of the
Settlement Agreement to be iii their clients' best interest, and wpuld Hke to conclude
negotiations that hBVe been ongoing. TI1e BIA has no desire to interfere with completion of the



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 Sctclemenl Agreement, anti hopes funt the matters addressed in greater detail below con be deal[
 with expeditiously but independently of the parti.es reaching u consenrus no the Settlement
 Agreement 1cm1s. Howcwer, the DIA cannot provide instant lum-11ronnd to finalize aod appl'oVc
 the Distribution l'l1111.

           To the degree that Mr. Hudson may have had the belief d1at the BIA can engage in some
 sort of sbortcul of 01e regulatory process for Distribution Plan approval, we apologize if be has
 raised unrce.lislic expectations. In order to cnrry out its fidueiafy duties ·nnd comply with tho
 appliCllble regulations, lhe BIA will hnvc 10 proceed in accordance with established procedures,
 and meet estnblis'l1cd requireincnl9. We hope to do so as promptly as possible, but do not,see
 why following those ncc<:ssn.ry steps should delay completion of the Settlement Agreement.
 After nil, it fundamc:ntally affects the intcrc:;ts of all seven allotment owners, and most of them
 at'C -nol directly conc<:tned with issuesTelaling to the                ltM AccountDistribution
 P!an.

          You were _previously furnished with a copy of the standard BIA "fill-in the boxes" fonn
which is rhe actual Distribution Pl 1111. 111at fo.rm provides no space for any e.'<ten<le<l discussion
or analysfa, but simply signature li nes for rccommendiag end authorizing ofiiciels, who by their
approval acknowledge thn1 recommended pn.ymcnts/withdrawals under the Distribution Plan arc
i11 the minor accounl owm:r's best interest. Attached to this l01te1· is o copy of n document titled:
"BiA nM Social Services Assessment and Ev.aluati'on of Need Case Management Quality
Assurance Tool Minor Accounts (Assessment and Evaluation of Need Document),'' which the
l:luman Services Director or Social Worker has to complete:: prior to devclopLnent of, and
evenl\Jal approval of, a Di~tributiou Plan. 111is document is the tool used by the social se1vices
worker to collect infonnation and make recommendations tcgarding both the minor's and the
guardian's rec1uest;,. Assuming that we do not encounrer any unforeseen problems in ca.tTying
our the steps described below, we e1<pect that fhe »IA would eventually be able to,iodude
language in its Assessment .and EvaJu11tion ofNt?"c:d document simila.r to tanguage Mi'. Hu·esorl
drnJl:ed and circulated ou November- 21, 201 J. We w1derstand that language to ·ha'Ve been
sotisfoclory to yo\t,

          You may recall that an effort was made some we~ks ago to arrange a meeting between
 the gunrdian nnd the BIA AJasko Region Hnman Services Director Gtoria Gorman .
 Unfortunately, contljcting schedu.les did not allow such a meeting to take place. The meeting, or
at least an e;(tended telephonic inteiview, will have to he completed before the Assessment and
Evaluation of Need document, amt thereafter tho Distribution Plan can be completed and
 finalized. The BIA is informed l.hrough your report to Mr. Hudson that the guardian is seeking
to provide! in theplan    on.ly for payment of att()mey fees and costs, an obligatio11 he incurred on
his ward              behalf. nod ti1at he is not seeking to inclarle in the Distribution Plan
nutbori:znt1on of any other paymenL, lo defray perst)nal expenses of the minor accouut holder.
Nonetheless. BIA needs lo follmv the oortnal process of gnthering informntion, and consulthig
with che guardinn, a.'l required by 25 C.F.R. §§ 115.417 nod .420; and 25 CFR·Part :Z0. The BlA
i11vest:igate<l Lhe availability of Ms. Gorman for the remainder of this xear, as well as exploring
the pQss.ibility of a colleague rnnding ln for )ier, and conducilng the interview. Due to
scheduling conflicts, it appears that it won't be possible to set up the interview until after the •.first
of the year. In the meaotime, much progress can be made by the guardian's submission of
i11fonnat[on requested in this letter.

                                                    2



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 lnfon11uci1m that will he rcqui!!<g

           Pursuant lo regulatory req uirements at 25 CFR Part 20, the BIA social worker is under an
  obligation to cc,mplete the Assessment and Evaluation of Need rlocumenr. In reviewing tl1e copy
  of1l1c clncumcnt actnchcd to this letter, you will sec that lhe social worker mu~i obtain certain
  infmmario11. The BIA is in µossess10n or n copy of the state court guardianship 11apcn;.
  fnformo tinn about re.qources av:iitnble to meet the minor's needs will also have lo tn: submitted.
  Although, we have been informed sccoud haud that the guardian has assumed responsibility for
 all of the minor's living expCr'lses, we need to confinn and document al l the essential facts about
 Ute minor'~ circumstance.~. After al~ i::ven if11 creditor can point to legitimate obligotions, and a
 t,•wtrdian :t.<lvocnte.~ n pni1icular disbursement, the I3JA will Ml nuthorizc IIM account~
 riishurscments which woultl J~opardize tl1c account holder's 11bility to meet livlng expenses. Just
 ru; y1,u 011 the guarcliun's behalf arc trying to nvoid or minimize risk U1at his actions will be
 l\:gally attacked, the Br/\ in the interest llfll,e minor, and to comply with law, must al.so make
 sure that its actil111s as trustee ore prudent, adequ11tely documented, and In strict acc-0rdance with
 legal requitc:menL~.

        Admittedly, this is an µnusual situation. We l!J'C not n.were ofa11y-pest instnnecs w-hero
the Bl A hos been cal led upon to au thorize a ver>· sobstaatial drsbtlrsemcnl, or selies of future
disbursements, on the basis of a contingency fee agreement such as exists in 1hc present case.
Occause of this, we arc neccssnrily lcani"ng on advice of Jegnl C0WlSel for guidance.
Accorclir;igly. basr.:d on our initial review of the Itemization Sheet, and the 20·03 and 201'1
atlomcy fee agrer;;mc:ms, we vould request I.hilt you provide a response to tb~ following
qu~slions fl.nd issues.

        A.       An invoice or receip.t documenting legal services and costs incum.1d.

        Si11ce            is requesting that the disbursement be made directly to the Givens Law
Finn in retuni for the prllfessionul sl:!T'Vicell that it hos provided tcll■■■■I and eicpenses it
hns in otuTed on h<=r buhnlf, tho pnck0gc will ncod t<> contQin sufficient informHtion 1111 d
documcn!nlicm to supp<1rt making a direct payment. See 25 C.F.R. § 420(f). BIA will need to
receive an "invoi.cc or bill of sale." See id. BIA has rnvlcwcd the materials that the Givens Law
Finn previously provided during the course of these seUlemcnt nego tiations, and BIA dece.imi11cd
lhat they do not constitute the type c, f"invoice or bill of sole" contemplated by the regulations.
Would the Giveas Law Firm please ptovidc such an invoice to ■■■lror his review, which
             could then incl11dc in his package to l31A requesti:11g lb.e disbursement? In ordc1• to
help provide g.uido11c:e on this issue, BIA is uvailuble to discuss some of the infon:n11tion which
llils not yet been provided Md is nec:e.~sary fo r BTA's review.

        The c1U-rent Contingency Fee Agreement provido:d to BIA appears to set n contingency
lee amount ofJ 5% of any lump s.um nmount paid in an>' -settlement agreement and requires an
additioJmt 2$% of' unnunl rental poyincnts reccived for he lease of the allotment between
20 12-203!1. BIi\ has some qu1:stions regarding this Contingency fee Agreement (disc.1ssea infi'a
i.11 Part B), and one of tho~e qul!l.tions is particularly releV',ml here. Speci ficaUy undec the
Ame.rican Bnr A~socialion's ("ABA") Model Rules of Professional Conduct, Rule I .5(c), a
contingency feo agreement is supposed to state c:xplicitlyin wrjtiug the "litigation and other
expenses to be rh!ducred fr.om the recovery" and "whether such e:,::penscs arc to be deducted
hemrc or ufccr 1he con1ingcm fee is Clllculatcd." The current Contingency Fee Agreemenr cloE:S
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 not ~tate whether the eipenses ate to be deducted before or aftel.' the contingenc fee is calculated,
 and the initial calculations proviikd to BlA il1dicate that tbe Givens Law Flm1 intends to assess
 the eonti~gent fee before the expensc.s are deducted, increasing:lhe Legal bill for. . , y
 approximately 3% of her total recovery. We hope any invoice llould ruldress this issue.

         The more difficult amount to calculate is the amount owed for'                 1% Share Qf
 fees and Costs.'' BrA has r,eviewed the . . . . . .IItemi1.ation of lump Smn Settlement with
 F,;c~ and Costs Due" submitted to 1111: Regional Solici~or's Office on November 21, 2011
 (hereinafter "Itemization Estimate''). BIA has also reviewed the April 27, 2011 letter that set
 forth the amount of fees ond costs that t:he Oengas llS.5erted the United Stntes owed up to that
 point under the 1:.qual Access to Ju$tice Act ("E.AJA") (hcrcinnftor "EAJA Cost F.st!mntc"). nrA
 is not certain that either document C<>nla ins suffi.:lent infonnotion 10 establish that the $6,400.61
 attributed to fees and costs ls attributable to ■■■■■ 1% sha1•e of fees and costs. Without
 a more detailed itemization lt will be difficult for the BIA to make a determination based on the
 infom1ation currently available.

         Specifically with regard to the items listed as "deferred fees & cost~ 2002-2009," and
 "Deferred fees" for 2010 lllld 2011 , please explain how these payments 11re called .for by the
 current Contingency Fee Agreement. Why aren•~ these amounts subsumed by the pel"cent.age fee
 applied to the lump sum sc:ttlement? The Office of the Spooial T-ruste6 for Americou Indians
 indicates thn.1. disbllrsernents were made co the Givens Law Firm. in pest years from tlte adult
 Oengas' UM accounts, but we would appreciate an explanation of the contract interpretation that
 supports such disbursements.

         Second, although the EAJA Cost.Estimate provides more defail.regarditig these fees and
 costs, BJA cannot authorize the disb.urs cmcnt· based on those estimates. The celevunt Exper
  Witnesses (S339,021 .38) and Court Reporters ($16,507.68) presumably provided the Givens
  Law Finn with invoices er receipts for their services, and it would be appropriate for the Givens
  Law Finn to attach cop.ies of those receipts to its own invoice for costs. Situifady; the amounts
  provided fur "Filing Fees" ($705.00), "DepositiO'n/C"..ourt Reporters" Deposition Witness Fei:ls"
  ($ 185.00), ••Transcripts Hearing and Trial" (S 19,015.80), "Postage" ($2,628.68), "Telephone:
  Long distance/Conference tflHs" ($256.87) 1 "Pnotocopies/Document Production ($7,493.51), and
  "Travel"' ($22,955.•1-7) appear to be hn.,ed upon expense.~ incurrc<l as part ofihe Givens Law
  Firm's rcpresenlation, but will1out more specific documentlltion heing attached , BIA cannot·
  ascertain whether all of these expenses can be attributed to the Givens Law Fir.m's representation
  of■■■              as related 10 the Lease. Moreover, il is unclear wbat the notation ''Mileage
  program 185,000 miles= $1,850 value" means. If the Givens Law Firm u~ed 185,000 miles
  from some nirline mileage program to cover travel for its clients as part of its tepre.~entatlon
· related to the Lease, then ihe Firm should document that usage and establish that it is appropriate
  to seek rnirnl:>ursemcnt for those miles from these clients ..

        Final\y, there appears to be atle!!Jlf $35.,693.61 of additional, total expenses being
requested in the 1temization .Estimate that are nllwhere a'"courtted for iri the EAJA Cost Estimate,
and ■■■IPortion is understood to be l % of these expenses. The EAJA Cost Estimate
sununarized $408,769.39 of total expenses through April 2-7, 201 t. 111e Itemization Estimate
includes "Unp~id costs (1 % share)" in the amount of$4;444;63, which indicates total costs of
$444,463.00, A:'isum:ing this d!fforence results from additional expenses incurred by the Givens

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  Law Finn since April 27, 2011, the BIA would request that the invoice or receipt contain some
  explanation of these expenses.

          Tbus, BIA would reque.~t thot the Givens Law Firm plense prepare an invoice or receipt
  for the requested amount with the necessary documentalion and receipts to support the claimed
  expenses. If lite Givens IJIW Finn could provide those clocurue.nts t                 fut· ■review, so
             coulcl then incl\ldc them in 111c po.ckage with - etter requesti'!a.._the disbun;ernent, it
  would be appreciolcd. l;}lA would nl~o reriucst that ■11111111:ertify Iha-ha.., reviewed the
  invoice nml receipt information.

          B.        Establishing that lhe plan is in the best interest of-

          BIA must detennino whether the disbursenient plan is in the best interest of
 and whether the c!isbw-sements will be used for-direct benefit. 25 CFR §§ 115.417;
 l 15.421(e). The request for payment of fees letter should provide an explanation for why these
 di9hursements arc in•■■■■ best interest.

         The request for payment of fees Jetter may argue, among other cltings, thnt                as
 guardian, acted in.best interest by hiring 1.be GiVE'J\S Low firm to repre.~ent                   in
 oucmpting to secure increased past and future rents regarding the allotment, in which-
 bolds a l % interest. Any increase in p11sl and futurt renfs on that allotment would r e s ~
 financial paymenl!I to-        and thus would be i-6nancial interest. Here, if
 receives the funds that arc currcolly being proposed, the rcsulti;.ncomc will increase
 UM Accotmt by over $135,000 and will increase the rents that           eceives in the luture to over
 $6.500/year. Thal information suggests that securing legal representation in order to pursue
 claims and causes of action re lured to the Lease may have been ii
 suggests that
 reprc.~cntntion.
                          may have been acting in.best interest by arranging                 fo-
                                                                                best interest, and



         BIA would     r711c:s1 that· the re,1ues1 for pa)'lm:nl locter 11.lso lnclutlc any furtbt:r
 exp!nnntion Iha! l■■■nay h11vc for how his hiring of lhc Givens Law f-inn s e r v e d -
 best interest Similarly, BIA would also request that the letter address how ■■■l,ayment or
 any debts incurred under the cum:nl Contingency Fee Agreeinent serve~est interest.

        BLA would raise one specific concern. The current Contingency Fee Agreement ia quite
 generous lo the Givens Law Fil11lliiiand
                                       a cmt of the current Contingency Fee Agreemen. t does
 diminish the benefits received b               or example, after paying the currently
 proposed fees.■■■lump sum paymen                     raps from $135,000 to $78,193.93, decreasing the
~ over 40%.           In addition, the provision regarding future rents would decrease      amount any
~eceived as rent under the Lease by 25% until -                 in her 40's. Neitbe           i,or
the Oengas have ever soughl BlA 's advice on this currenl Contingency Pee Agreement, and BLA
is not awnre of any regulation or Jaw requiring that they do so. Nonetheless, BIA regulations
st.ate thnt the evaluntion ofa Disbursement Plan must consider all information necessary to
ensure that the'disbursement: is in the best inle1·est of the minor. See 25 C.F.R. § 115.420. 1n
order to meet its regulatory obligation BIA must be satisfied that the fee is reasonable. 1

1
  ABA Model Rules of Professional Cot1duct, Ruic l.5(a) provides several factors for detennining the
reasonableness of an attorney's fees.
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         Here, the current Contingency fee Agreement raises certain concerns that l:UA is not in
 the best pos.irion to assess because BIA bas not previously addressed a similnr fee arrangement .in
 the context ofa distribution plart for a minor. F\\r that reason, BlA 1.1oold request tbal the Givens
 Law Finn please provide its explunation and support for the reasonableness of the current
 Cont'ingency Fee Agreement. For example, many Dar ""ssocintions issue Ethics Opinions thot
 r,rovide guidance on rcilsonnblc fee ao·angcments, HJld the Givens Law Firm may identify some
O~linions tlml nre on point. Similarly, .i f no Opinions a~ on point, the--·equcsL a
written legal etltics opinion. Here, the Givens Law Firm reprc.-;cotcd                   cfore the
Interior Board ofindian Appeals ("ffiIA") located in Virginia and be ore           m co States Court
of Federal Claims ("CFC") located In the District of Columbia. T.hose Bars would nppearto be
appropriate fora from which to seek such an opinion, but BIA is will.ing to discus.s Teferring to
the opinions of other pottmlial Bo.r Associations ru; well. Similarly, if ■■■lir the·Oivens
Law Fi.rm has a preferred alternative method for resolution oftbcRe concern:,;, Bl.A would discuss
those options as well.

       The issues that BIA would like to have addressed by the submission are:

 I)    The current Cortting~ncy Fee Agreen1eol does not ap_pear to comply with Model Rule of
       Professional Conduct l.5(c) bc:causo it does not clearly state !'whether [litigation and
       other expensc.s] are 10 be deducted before or after the contingent fee is calculated.·•
       Given this issue, should the parties adopt an interpretation of the current Contingency Fee
       Agreement tllnt asscssc.s fhc co111111gc11t fees after the expenses hav~ been deducted,
       which would favor !ht: clicnlll'!
2)     The current Conting!!n~y Fee Contract was amended on August 5, 2011, aftef tlte partie.s
       discussed and ideutified lellllll upon wliich a potential sel Llemem might be 1"etiched. Tho
       Amendmetll changed the contingency fc1i calculation methods, tlnd the contingency fees
       under the Amendment ure allegedly "slightly less'' than under the o'riginnl mcthoa. BJA
       agree.q with the Amendment's statemonl that the originol mechanism was 'cumbersome"
       and "&omowhut complex," 11nd perhaps ns 11 result, BIA 's initial cnlculatiocrs for the
       potential fee Rmounts have not established lhRt the new contingency fees nre notually le-ss
       lbaa !hose provirled for under the old calcuh1tion mechanism. Given this concern, U1c
       submis$ion would Jleed to address the following two issues:
       a)      The submissian should pl"ove thut the Amendment actually deer~ses tl1e
               contingency fee as opp.osed to increasins it. The submission might do so by
               oalculating the fees under the two different methods for II few repr@entati ve
              years.
       b)     TI1e proprfoty of n,odifying _thi: cu1Tebt Contingency Fee Contract during the
                coun;e of the settlement negotiations, and whetlier the modification re~uired
                compliance with Rule 1.8.
3)     fo,ally, BIA is u11cert11in whether or not the cummt Conting_ency Fee Agreemertt meets
      the standiu·d for 'reasonableness" \lnder Rule t.5(a), BIA!$ pruti<:;ulady concerned about
       the 25% of fees coUeoted on :future rents until 2038 because it does not appear that the
      attorney will hnve to expeod any time or labor to continue receiving that si1,1J1ificanl
      compensation. See Rule L.5(a)( 1). Similarly, ff one converts the foe amounts to ao
      hourly rate (based on the hourly estimates provided by the Givens Law Firm in its EAJL\
      letter, i.e. 4.909.25 hours through March, 2011 ), then the fee..~ mn.y be _perceived by some
      as excessive whert compared to rates typiClllly charged in the relevai.1l locality. S~ Rtlle
                                                 6


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        l.5(a)(3). On the other hand, BIA reco~es that many of the other factors that are
        relevant under Rule 1.S(a) may weigh in the other direction. For these reasons, BIA
        would request that the submission address whether the current Contingency Fee
        Agreement \s "reasonable" under Rule I .5(a) generally, and specifically whether the
        current Contingency Fee Agreement is "reasonable" as it i•elatea to the·''future rents"
        provision.

         BIA recognizes that these are difficult issues, and as menLioned nbove, BIA believes that
 these concems would be best resolved by reference lo lhe opiuions of one of the Bar
 Associations' ethics offices !hot deal with the.~e types of issues r-egularly. Iii contrast, responsible
BIA personnel have never had 1o assess a disbursement from a minor's account to pay
obligations incurrctl under this lype of contingcncy fee agt·eement. We also think such a cuurse
of action will bost protect all parties involved in. the approval of!he Distribution Plan. because it
 will rely on the appropriate authority, a Bar Association's ethics office, in mnking the
detenninRlion as to the "reasonableness" of the allomey's fees claimed. Of course, as mentioned
above, u·•■■lor U\e Givens Law Finn has a preferred alte1il.ative method for ·reso.tu'tioIJ. of
lbcso concerns, BIA would diSCWIS those options as well.
                                    *       *       *       *      *
         1n sum, the BIA has 110 desire to inte1fere with completion of the Settlement Agreement,
and hopes that the matters addressed herein can be dealt with ex.peditiously but independently of
the parties reuching a conseusus on the Settlement Agreement terms. A~ this letter described, the
concerns raised by the circumsllmccs and by BIA 's fulfillment of the regulatory requirements of
25 C.F.R. §§ 115.400 et seq. mtL~t he addressed, nncl we hope to do so as promptly as possible.
The OJA looks fo1ward to the mee1ing or telephonic interview required for the Assessment and
Evaluation of Need Duc11111ent1 nnd thereafter the Ois1ribulion Pinn. In the meantime, much
progress can be made by the guardian's submission ofinfonnalion requestecl in this letter. We
lo\lk foiwar<l lo receipt of such information to cont(nuc 11nd complete this process in Ille best
interest of the minor represented.

Sincerely,

c:..:/'7"~ ,;vf./~ -
                 f         '-
Eugcnc R. Virden
Regional Director
BIA Alaska Region

CC:    Rohc1t Stockton. United States Deparlment of Justh:e. (electronically)
       Jason Hill, United States Departmcu1 Clf Justice (electronically) ·




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